           Case
            Case2:16-cr-00052-GMN-CWH
                  2:16-cr-00052-GMN-CWH Document
                                        Document90  Filed08/23/16
                                                 89 Filed 08/23/16 Page
                                                                    Page11
                                                                         ofof
                                                                            44



 1   PHILIP H. BROWN, ESQ.
     Nevada Bar No. 6240
 2   BROWN LAW OFFICES
 3   200 Hoover Ave., Suite #130
     Las Vegas, NV 89101
 4   Telephone (702) 405-0505
     Facsimile (866) 215-8145
 5   Phil@thelasvegasdefender.com
 6   Attorney for Defendant Todd Johnson

 7
                                  UNITED STATES DISTRICT COURT
 8
                                        DISTRICT OF NEVADA
 9
                                                   ***
10
                                                    )
11   UNITED STATES OF AMERICA                       )
                                                    )
12                   Plaintiff,                     )
              vs.                                   )
13                                                  )
                                                    )               2:16-CR-00052
                                                          CASE NO.: 2:11-CR-331
14   REGGIE PRATT, et. al.,
                                                    )
                                                    )
15                   Defendant.                     )   TODD JOHNSON’S UNOPPOSED
                                                    )   MOTION TO CONDUCT
16                                                      A PRE-PLEA PRESENTENCING
                                                    )
                                                    )   INVESTIGATION REPORT AND
17                                                      PROPOSED ORDER
                                                    )
18                                                  )

19
             Comes now, appointed counsel Phil Brown Esq., and hereby moves this Court request a
20
     Pre-Plea Pre-Sentence Investigation Report be prepared by the Probation department.
21
             1) The calculation of Defendant Todd Johnson’s criminal history will drastically impact
22
23   his sentencing exposure, negotiations, and client's decision as to how he should proceed. A pre-

24   ///
25
     ///
26
     ///
27
28   ///


                                                    -1-
         Case
          Case2:16-cr-00052-GMN-CWH
                2:16-cr-00052-GMN-CWH Document
                                      Document90  Filed08/23/16
                                               89 Filed 08/23/16 Page
                                                                  Page22
                                                                       ofof
                                                                          44



 1   plea presentence report will promote judicial economy and aid in the manner in which this case
 2   is ultimately resolved.
 3
            2) Undersigned counsel therefore respectfully requests an order that the Department of
 4
     Probation conduct a pre-plea presentence investigation report as soon as possible.
 5
 6          3) Undersigned counsel has spoken to the prosecutor, Assistant United States Attorney

 7   Phillip Smith regarding this request and he has no opposition.
 8
 9
            DATED this 23rd day of August, 2016.
10
11
                                                          /s/ Philip H. Brown
12
13                                                        Philip H. Brown, Esq.
                                                          200 Hoover Ave, Suite #130
14                                                        Las Vegas, Nevada 89101
15                                                        Attorney For The Defendant
                                                          Todd Johnson
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                    -2-
        Case
         Case2:16-cr-00052-GMN-CWH
               2:16-cr-00052-GMN-CWH Document
                                     Document90  Filed08/23/16
                                              89 Filed 08/23/16 Page
                                                                 Page33
                                                                      ofof
                                                                         44



 1   PHILIP H. BROWN, ESQ.
     Nevada Bar No. 6240
 2   BROWN LAW OFFICES
     200 Hoover Ave., Suite 130
 3
     Las Vegas, NV 89101
 4   Telephone (702) 405-0505
     Facsimile (866) 215-8145
 5   Phil@thelasvegasdefender.com
 6   Attorney for Defendant – Todd Johnson

 7                                UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEVADA
 8
                                                  ***
 9
                                                   )
10   UNITED STATES OF AMERICA                      )
                                                   )
11                  Plaintiff,                     )     CASE NO.: 2:16-CR-00052
            vs.                                    )
12                                                 )
     TODD JOHNSON,                                 )     ORDER
13                                                 )
                                                   )
14                                                 )
                     Defendant.
                                                   )
15                                                 )
                                                   )
16
17          IT IS HEREBY ORDERED that Defendant Todd Johnson's Unopposed Motion for
     a Pre-Plea Presentence Investigation Report (ECF No. 89) is GRANTED.
18
19          IT IS FURTHER ORDERED that the United States Probation Office shall prepare
     and provide to the Court by October 24, 2016, a Pre-Plea Presentence Investigation Report
20   with the guideline calculation requested for Defendant's criminal history only.
21
22                                                          DATED this 23
                                                                       __ day of August, 2016.

23
24                                                          ___________________________
                                                            Gloria M. Navarro, Chief Judge
25                                                          United States District Court
26
27
28

                                                   -3-
         Case
          Case2:16-cr-00052-GMN-CWH
                2:16-cr-00052-GMN-CWH Document
                                      Document90  Filed08/23/16
                                               89 Filed 08/23/16 Page
                                                                  Page44
                                                                       ofof
                                                                          44



 1                                    CERTIFICATE OF SERVICE
 2
 3          The undersigned hereby certifies that she is an employee of Brown Law Offices,

 4   Chartered, and is a person of such age and discretion as to be competent to serve papers.
 5          That on August 23, 2016, he served an electronic copy of the above and foregoing
 6
     UNOPPOSED MOTION TO CONDUCT A PRE-PLEA PRESENTENCING
 7
     INVESTIGATION REPORT by electronic service (ECF) to the person named below:
 8
 9
10                  DANIEL BOGDON
                    United States Attorney
11
12                  PHILLIP SMITH, ESQ.
                    Assistant United States Attorney
13
14                  PAOLA ARMENI, ESQ.
                    Attorney for Dywon Johnson
15
                    OSWALDO FUMO, ESQ.
16                  Attorney for Torrence Douglas
17
                    JENNIFER WALDO, ESQ.
18                  Attorney for Antoine Evans
19                  KAREN CONNOLLY, ESQ.
20                  Attorney for Reggie Pratt

21                  DAVID BROWN, ESQ
                    Attorney for Antonio Randolph
22
23                  RANDALL ROSKE, ESQ.
                    Attorney for Dominique Grace
24
                    JOHN G. GEORGE, ESQ.
25                  Attorney for Ronald Smith
26
27                                                        /s/ Mary D. Brown
                                                          _________________________________
28
                                                          Employee of Brown Law Offices, Chartered

                                                    -4-
